Filing # PPRRBSIPE IGE OBITS BIBPFEN. Filed 07/07/28. Page 1 of 17 PagelD 3

IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT
IN AND FOR COLLIER COUNTY, FLORIDA

CLARK PEAR LLC
Plaintiff,

v. Case No. 2023-CA-000111

Judge: Lauren Brodie

MVP REALTY ASSOCIATES, LLC and
DEREK CARLSON.
Defendant(s).

DEFENDANT'S MOTION TO DISMISS OR,
IN THE ALTERNATIVE, MOTION TO STRIKE

Defendant, MVP REALTY ASSOCIATES, LLC (“MVP”), a Florida Limited

Liability Company, pursuant to Fla. R. Civ. P. 1.140, moves to dismiss the Plaintiff's,
CLARK PEAR LLC, a Florida Limited Liability Company (“Pear”), 2"? AMENDED
COMPLAINT (Dkt. # 69, May 26, 2023), for failure to state a cause of action as a result of
the Plaintiff's omission of the instruments essential to its pleading or in the alternative,
pursuant to Fla. R. Civ. P. 1.140(f) moves the Court to strike immaterial, impertinent
and/or scandalous statements contained within Plaintiff's, 2"* AMENDED COMPLAINT

(Dkt. # 69, May 26, 2023). In support thereof, MVP states the following:

INTRODUCTION
1. Plaintiff filed their first factally defective one-count Complaint (Dkt. 3) (“1s

Complaint”) on January 23, 2023.
2. Thereafter, Derek Carlson filed Defendant’s Motion to Strike Plaintiff's

Complaint and Motion to Quash Service (Dkt. 12, Feb. 15, 2023) and MVP filed its Motions to

MVP'’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 1 of 17

FILED: COLLIER COUNTY, CRYSTAL K. KINZEL, CLERK, 06/07/2023 01:12:17 PM
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 2 of 17 PagelD 54

Strike Plaintiff's Complaint; Quash Service; or, In the Alternative, For More Definite Statement;
And to Compel Separate Statements of Claim (Dkt. 15, Feb. 16, 2023) (hereinafter, collectively

referred to as “Motions to Strike”).

3. A hearing was held on March 13, 2023, on the Motions to Strike and the
Court entered Order on MVP’s Motions to Strike Plaintiff's Complaint; Quash Service; or, In
the Alternative, For More Definite Statement; And to Compel Separate Statements of Claim (Dkt.
31, March 21, 2023) where the Court converted the Motion to Strike to a Motion to Dismiss
and granted the motion.

4, Plaintiffs filed their Amended Complaint (Dkt. 3, Apr. 2, 2023) (hereinafter,

“24 Complaint”) seeking damages for (a) breach of contract, (b) consequential damages,

and (c) a revocation or suspension of Defendants’ license under a statute that only
authorizes the Florida Real Estate Commission to do such acts. (See Am. Complaint {TI 33,
43, 56).

5. Thereafter, Derek Carlson filed Motion to Dismiss All Counts Against Derek
Carlson in his Individual Capacity (Dkt. 33, Apr. 18, 2023) and MVP filed its Amended Motion
to Dismiss Complaint Against MVP (Dkt. 35, Apr. 18, 2023) (hereinafter, collectively referred

to as “Motions to Dismiss”).

6. A hearing was held on May 17, 2023, on the Motions to Dismiss and the

Court entered Order on MVP’s Amended Motion To Dismiss Complaint Against MVP And

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 2 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 3 of 17 PagelD 55

Motion To Dismiss All Counts Against Derek Carlson In His Individual Capacity where the
Court granted the Motions to Dismiss and allowed Plaintiff 10 days to file its 24
Amended Complaint.

7. Plaintiff has now filed its 2 Amended Complaint (Dkt. 69, May 26, 2023)

(hereinafter, “3'? Complaint”) against MVP only and seeking damages for a purported

breach of contract. (See 3 Complaint, { 35).

LEGAL ARGUMENT

A. MOTION TO DISMISS THE 38? COMPLAINT
a. CASE LAW

8. "For ... purposes of a motion to dismiss for failure to state a cause of action,
allegations of the complaint are assumed to be true and all reasonable inferences arising
therefrom are allowed in favor of the plaintiff." Swope Rodante, P.A. v. Harmon, 85 So. 3d
508, 509 (Fla. 2d DCA 2012) (quoting Wallace v. Dean, 3 So. 3d 1035, 1042-43 (Fla. 2009)).

9. "A motion to dismiss tests the legal sufficiency of the complaint and does
not determine factual issues." Haskel Realty Grp., Inc. v. KB Tyrone, LLC, 253 So. 3d 84, 85
(Fla. 2d DCA 2018) (quoting Gann v. BAC Home Loans Servicing LP, 145 So. 3d 906, 908
(Fla. 2d DCA 2014)).

10. "To state a cause of action, a complaint must allege sufficient ultimate facts
to show that the pleader is entitled to relief." Havens v. Coast Fla., P.A., 117 So. 3d 1179,
1181 (Fla. 2d DCA 2013) (citing Fla. R. Civ. P. 1.110(b)).

MVP’S Motion to Dismiss or Alternatively Motion to Strike

23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 3 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 4 of 17 PagelD 56

11. ~~‘ Fla. R. Civ. P. 1.130(a) provides in part that “[a]ll ... contracts, accounts, or
documents on which action may be brought or defense made, or a copy thereof or a copy
of the portions thereof material to the pleadings, must be incorporated in or attached to
the pleading.”

12. “The purpose of rule 1.130(a) ‘is to apprise the defendant of the nature and
extent of the cause of action so that the defendant may plead with greater certainty.’
Amiker v. Mid-Century Ins. Co., 398 So. 2d 974, 975 (Fla. Ist DCA 1981) (citing Sachse v.
Tampa Music Co., 262 So. 2d 17, 19 (Fla. 2d DCA 1972)).

13. “A complaint based on a written instrument does not state a cause of action
until the instrument or an adequate portion thereof, is attached to or incorporated in the
complaint." Glen Garron, LLC v. Buchwald, 210 So. 3d 229, 233 (Fla. 5th DCA 2017) (quoting
Contractors Unlimited, Inc. v. Nortrax Equip. Co. Se., 833 So. 2d 286, 288 (Fla. 5th DCA 2006)).

14. = "Rule 1.130 does not require attachment of the entire contract, but only the
attachment or the incorporation into the pleading of the material portions of the contract
on which the action is based." Id.

b. PLAINTIFF HAS FAILED TO ATTACH ALL NECESSARY
CONTRACTS

15. Onor around December of 2021, the Plaintiff and MVP purportedly entered
into an Assignment of Claims Agreement (hereinafter, “Assignment”) attached to the
Plaintiff's Complaint as Exhibit A. (See 3 Complaint, Ex. A).

MVP’S Motion to Dismiss or Alternatively Motion to Strike

23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 4 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 5 of 17 PagelD 57

16. The Assignment sought to assign MVP’s rights under those certain listing
agreements between MVP and certain Sellers, which required, among other things, for
the Seller to remit a commission to the Broker if the Broker or its Agent brought a “ready,
willing and able Buyer” and Seller refused to consummate the transaction, as referenced
in the Assignment. (See 3 Complaint, Ex. A).

17. The underlying premise of Count 1 of the 3" Complaint is based on the
alleged breach of the Assignment by MVP for not pursuing purportedly valid claims that
MVP purported had under the listing agreements as a result of a Seller’s refusal to
consummate a real estate transaction referenced in the Assignment. (See 3% Complaint,
Ex. A).

18. These certain listing agreements and corresponding sales contracts are
referenced in the Assignment and are essential documents and instruments to this matter
because there must be a determination whether MVP even had a valid cause of action
under the listing agreements prior to the determination of whether MVP breached the
Assignment. (See 3 Complaint, Ex. A).

19. These listing agreements are essential components to a set of documents
and instruments composing the Assignment and all of which are essential the Plaintiff's
cause of action and are necessary for MVP to prepare and formalize its response.

20. Accordingly, the operative documents for the Assignment in this dispute

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 5 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 6 of 17 PageID 58

comprise of the Assignment of Claim Agreement attached to the Plaintiffs 3°* Complaint as

Exhibit A, but also the listing agreements, specifically:

a.

21.

“Seller(s)’ Brokerage in Sales Contract (Residential Improved Property) dated
November 6, 2021, and/or its corresponding listing agreement(s) involving 840
Meadowland Drive Unit 11-1, Naples, FL [34]108 that did not close despite ready
willing and able buyer(s)” (See 3'* Complaint, Ex. A at 2)

“Seller(s)’ Brokerage in Commercial Contract offer dated December 2, 2023,
corresponding listing agreement(s), and/or other contracts or offers involving 1348
Highlands Drive, Naples, FL 34103, 1358 Highlands Drive, Naples, FL 34103,
1097 Highlands Drive, Naples, FL 34103, 1290 Highlands Drive, Naples, FL
34103, 1312 Highlands Drive, Naples, FL 3410 and/or 1072 Highlands Drive,
Naples, FL 34103 that did not close despite ready, willing, and able buyer(s)” (See
34 Complaint, Ex. A at 2)

“Transaction Brokerage in Commercial Contract dated November 6, 2021,
corresponding listing agreement(s), commission agreements (including any and all
of the 21 parcels contained within) and/or other contracts or offers involving
approximately 4.33 acres on or near 292 Capri Blud in Naples, FL that did not close
despite ready, willing and able buyer(s).” (See 3"? Complaint, Ex. A at 2)

“The rule is clear that when a writing expressly refers to and sufficiently

describes another document ... the other document is to be interpreted as part of the

writing. Comput. Sales Int'l v. State Dep't of Rev., 656 So. 2d 1382, 1384 (Fla. Ist DCA 1995)

(citing Woodard Tire Co. v. Hartley Realty Inc., 596 So. 2d 1114 (Fla. 3d DCA)).!

22.

It should be noted that these listing agreements were previously attached

to prior Complaints filed by the Plaintiff, but the Plaintiff included additional and

unnecessary information with said listing agreements. (See 2” Complaint, 1% Complaint).

1 Review denied, 605 So. 2d 1264 (Fla. 1992).

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.

Page 6 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 7 of 17 PageID 59

23. Therefore, Count 1 fails to state a cause of action because of the omission of
listing agreements and corresponding contracts, incorporated into and made part of the
Assignment, does not satisfy the requirements of Fla. R. Civ. P. 1.130(b), for which
dismissal is proper.

B. IN THE ALTERNATIVE, MOTION TO STRIKE PORTIONS OF THE 38?
COMPLAINT

a. CASE LAW

24. It is fundamental that a complaint must state a cause of action and shall
contain, in addition to the grounds for the court's jurisdiction and a demand for relief, "a

short and plain statement of the ultimate facts showing that the pleader is entitled to

relief." Fla. R. Civ. P. 1.110 (emphasis added).

25. Pursuant to Fla. R. Civ. P. 1.140 (f), "[a] party may move to strike or the
court may strike redundant, immaterial, impertinent, or scandalous matter from any
pleading at any time." A motion to strike material from a pleading as redundant,
immaterial, or scandalous should be granted if the material is wholly irrelevant and can
have no bearing in equities and no influence on the decision. Rice-Lamar v. City of Fort
Lauderdale, 853 So. 2d 1125, 1133 (Fla. 4th DCA 2003).

26. It is not error for the trial court to strike portions of a complaint that are
either vague and indefinite, largely repetitive of allegations contained elsewhere, or

amounting to nothing more than legal conclusions of the pleader. Danese v. Holley, 159

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 7 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 8 of 17 PagelID 60

So. 2d 667, 668 (Fla. 1%* DCA 1964).

27. Courts have long recognized motions to strike as an appropriate vehicle to
remedy pleading defects such as redundant, immaterial, impertinent, scandalous, or
sham matter. Pentecostal Holiness Church, Inc. v. Mauney, 270 So. 2d 762, 769 (Fla. 4th DCA
1972).

28. Courts have routinely stricken entire complaints or portions of same that
contain surplusage, irrelevant statements, and bare facts that are extraneous to the claims
asserted in the complaint. See Harrell v. Hess Oil & Chem. Corp., 287 So. 2d 291, 294 (Fla.
1973) ("[I]f a complaint, taken as a whole, stated a cause of action, it should not be
dismissed, but extraneous portions of the complaint should be treated as surplusage.");
Balbontin v. Porias, 215 So. 2d 732, 734 (Fla. 1968) (If amended complaint as a whole or in
any part stated a cause of action, though remaining parts violated spirit and intent of
rules of pleading, remaining parts could be considered as surplusage, and plaintiff may
be required to amend complaint to eliminate specific irrelevancies or certain evidentiary
allegations or improper conclusions).

29. Where a litigant asserts factual allegations in a proceeding which have
nothing to do with the actual dispute, but instead only serve to embarrass, detract, and
vilify the opposing party, those allegations should be stricken under the rule. See, e.g.,

Rice-Lamar v. City of Ft. Lauderdale, 853 So. 2d 1125, 1128 (Fla. 4th DCA 2003) (Allegations

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 8 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 9 of 17 PageID 61

in Whistleblower Complaint that described an unrelated shooting and suicide incident
involving city employees were irrelevant and immaterial, subject to striking under Rule
1.140(f)).

30. Plaintiffs offer several scandalous, impertinent, and immaterial statements
and allegations that are outrageous and inflammatory; such statements and allegations
are entirely irrelevant to Plaintiffs’ causes of action and serve no purpose other than to
attempt to prejudice the trier of fact in Plaintiffs’ favor. As discussed in the following
section, this material is surplusage and should be stricken from the Amended Complaint
pursuant to Fla. R. Civ. P. 1.140(f).

a. REFERENCES TO ALTER EGO, PIERCING CORPORATE VEIL, AND
MR. DEREK CARLSON

31. Within the Plaintiff's 3 Complaint, Plaintiff makes numerous
representations regarding Mr. Carlson stating (1) Mr. Carlson committed fraud, (2)
misrepresenting facts regarding Mr. Carlson, (3) Mr. Carlson is an alter ego of MVP and
(4) references piercing MVP’s corporate veil.

32. Despite Plaintiff making these representations, Mr. Carlson is not a party to
the 3*¢ Complaint, Plaintiff has not brought an action for alter ego or piercing MVP’s
corporate veil or a cause of action for fraud against MVP or Derek Carlson.

33. Asaresult of the foregoing, these representations amount to nothing more
than legal conclusions, wholly irrelevant to the matter, has no bearing on the equities and
MVP’S Motion to Dismiss or Alternatively Motion to Strike

23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 9 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 10 of 17 PagelD 62

no influence on the outcome of the matter, specifically:

a. Paragraph 5. The Plaintiff represents Derek Carlson and MVP both entered
into an Agreement with Clark Pear LLC. (3'* Complaint, 15). The
Agreement is attached to Plaintiffs 34 Complaint as Exhibit “A”. However,
as evidenced by the contract, the Agreement is strictly between MVP and
Clark Pear LLC. (See 3 Complaint, Ex. A). Derek Carlson is not a party to
the Agreement nor did Derek Carlson execute the agreement in his personal
capacity so this representation is false and can have no bearing on the
matter. Moreover, Plaintiff's own representations within the Complaint
further evince Mr. Carlson executed the Agreement on behalf of MVP. (See
3 Complaint, 14, 16).

b. Paragraph 6. The Plaintiff represents Derek Carlson and MVP entered into
the Commercial Listing Agreements and “As Is” Residential Listing
Agreements. (3% Complaint, 7 6). Although not attached to the 3”
Complaint, Plaintiff previously attached copies of all agreement to the 1*
Complaint and 2"4 Complaint as Exhibit B. (See 1* Complaint, Ex. B; 2"4
Complaint, Ex. B). A true and correct copies of the agreements are attached
to this Motion as Composite Exhibit “A”. As evidenced by the Contracts,
the Contracts are between the Sellers, 34102 Investments LLC, and MVP.
Derek Carlson is not a party to the Contract nor did Derek Carlson execute
the Agreement in his personal capacity so this representation is false and
can have no bearing on the matter.

c. Paragraph 7. The Plaintiff represents Derek Carlson and MVP entered into
the Listing Agreement with Buoy I LLC and Grinder Revocable Trust. (3"
Complaint, { 7). Although not attached to the 3? Complaint, Plaintiff

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 10 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 11 of 17 PagelD 63

previously attached copies of this agreement to the 1s* Complaint and 2"4
Complaint as Exhibit C. (See 1% Complaint, Ex. C; 2"? Complaint, Ex. C). A
true and correct copies of the agreements are attached to this Motion as
Exhibit “B”. As evidenced by the Contracts, the Contracts are between the
Sellers and MVP. Derek Carlson is not a party to the Contracts nor did
Derek Carlson execute the Agreement in his personal capacity so this
representation is false and can have no bearing on the matter.

d. Paragraph 8. The Plaintiff represents Derek Carlson and MVP entered into
the Listing Agreement with Lake Jefferson LLC. (37 Complaint, { 8).
Although not attached to the 3'¢ Complaint, Plaintiff previously attached
copies of this agreement to the 1** Complaint and 2°4 Complaint as Exhibit
D. (See 1% Complaint, Ex. D; 2" Complaint, Ex. D). A true and correct copies
of the agreements are attached to this Motion as Exhibit “C”. As evidenced
by the Contracts, the Contracts are between the Sellers and MVP. Derek
Carlson is not a party to the Contracts nor did Derek Carlson execute the
Agreement in his personal capacity so this representation is false and can
have no bearing on the matter.

e. Paragraph 15. The Plaintiff again represents that he entered into the

Assignment Agreement attached to the Complaint as Exhibit A, “with

Carlson and Defendant for the pursuit of claims ...”. (3'* Complaint, { 15).

However, and again, as evidenced by the Agreement, Derek Carlson is not
a party to the Agreement nor did Derek Carlson execute the agreement in
his personal capacity so this representation is false and can have no bearing
on the matter. Moreover, Plaintiff's own representations within the
Complaint further evince Mr. Carlson executed the Agreement on behalf of
MVP. (See 3% Complaint, 114, 16).

MVP’S Motion to Dismiss or Alternatively Motion to Strike

23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 11 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 12 of 17 PagelD 64

f. Paragraph 17. In Paragraph 17, Plaintiff states, “Defendant, through its alter
ego, Carlson, refused to cooperate with Plaintiff .. .”. (8° Complaint { 17).
However, Plaintiff has not brought an action to pierce the corporate veil/
alter ego nor has Plaintiff brought a cause of action against Mr. Carlson in
his personal capacity. Therefore, the reference that the Defendant, through
its “alter ego” Mr. Carlson, is immaterial, impertinent, and scandalous.

g. Paragraph 18. In Paragraph 18, the Plaintiff recites case law regarding

piercing the corporate veil and states he can sue Carlson, but again has not
brought an action to piece the corporate veil or against a person
individually. Moreover, the Plaintiff states that MVP and Carlson
committed “fraud”. These allegations only serve to embarrass, detract, and
vilify not only the Defendant but also Mr. Carlson. (3'4 Complaint, { 18).
Therefore, this information is immaterial, impertinent, scandalous, and can
have no bearing on the matter unless or until the Plaintiff brings a proper
cause of action for the same.

h. Paragraph 30. Plaintiff states in Paragraph 30, “Defendant, through its alter
ego, Carlson, refused to cooperate”, but again, Plaintiff has not brought an
action to piece the corporate veil or against a person individually.
Therefore, this reference to the Defendant's “alter ego” is immaterial,
impertinent, scandalous, and can have no bearing on the matter unless or
until the Plaintiff brings a proper cause of action for the same.

i. Paragraph 35. Once again, the Plaintiff references Mr. Carlson as the alter
ego of MVP and states “Defendant through its alter ego Carlson failed to perform
the obligations laid out within the agreement[.]” (3'° Complaint { 35). Again,
Plaintiff has not brought an action to piece the corporate veil or against a

person individually. Therefore, this reference to the Defendant's “alter ego”

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 12 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 13 of 17 PagelD 65

is immaterial, impertinent, scandalous, and can have no bearing on the
matter unless or until the Plaintiff brings a proper cause of action for the
same.

j. Paragraph 37. In Paragraph 37, among other things, the Plaintiff recites case
law regarding piercing the corporate veil and states “Plaintiff can pierce the
corporate veil if the officer committed fraud or perpetuated a wrong and Derek
Carlson did both.” Again, the Plaintiff has not brought an action to piece the
corporate veil or brought an action against Mr. Carlson individually.
Moreover, the Plaintiff states that Carlson committed “fraud” and
“perpetuated a wrong”. (3 Complaint { 37). These allegations only serve to
embarrass, detract, and vilify Mr. Carlson. (3"? Complaint, { 37). Therefore,
this information is immaterial, impertinent, scandalous, and can have no
bearing on the matter unless or until the Plaintiff brings a proper cause of
action for the same.

k. Paragraph 43. In Paragraph 43, Plaintiff states, “Defendant and its alter ego
Carlson's, action of failure to perform duty, and breach of obligation of the
Defendant towards the Plaintiff, have caused this lawsuit to be filed.” Again,
Plaintiff has not brought an action to piece the corporate veil or against a
person individually. Therefore, this reference to the Defendant's “alter ego”
is immaterial, impertinent, scandalous, and can have no bearing on the
matter unless or until the Plaintiff brings a proper cause of action for the
same.

]. Paragraph 44. In Paragraph 44, among other things, the Plaintiff recites the
same case law regarding piercing the corporate veil and states “Plaintiff can
pierce the corporate veil if the officer committed fraud or perpetuated a wrong and
Derek Carlson did both.” Again, the Plaintiff has not brought an action to

MVP’S Motion to Dismiss or Alternatively Motion to Strike

23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 13 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 14 of 17 PagelD 66

piece the corporate veil or brought an action against Mr. Carlson
individually. Moreover, the Plaintiff states that Carlson committed “fraud”
and “perpetuated a wrong”. (3'* Complaint {| 44). These allegations only
serve to embarrass, detract, and vilify Mr. Carlson. (3° Complaint, J 44).
Therefore, this information is immaterial, impertinent, scandalous, and can
have no bearing on the matter unless or until the Plaintiff brings a proper
cause of action for the same.

34. As stated, these referenced representations and statements contained
within the referenced paragraphs amount to nothing more than legal conclusions, wholly
irrelevant to the matter, has no bearing on the equities and no influence on the outcome
of the matter and should therefore be stricken from the 3" Complaint.

b. REQUEST FOR ATTORNEYS’ FEES
35. _ Plaintiff’s 3" Complaint seeks a judgment against the Defendant for their

purported breach of the Contract attached to Plaintiff's 3° Complaint as Exhibit A.
Plaintiff also demands reimbursement of its costs and attorney’s fees.

36. It is axiomatic that under Florida law, attorney's fees incurred while
prosecuting or defending a claim are not recoverable in the absence of a statute or
contractual agreement authorizing the recovery. Price v. Tyler, 890 So.2d 246; Bidon v.
Department of Professional Regulation, 596 So.2d 450, 452 (Fla. 1992). Stated conversely, the
general rule under Florida law is that each party generally bears its own attorneys’ fees

unless a contract or statute provides otherwise. Peppers’ Steel & Alloys, Inc. v. United States,

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 14 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 15 of 17 PagelD 67

850 So.2d 462 (Fla. 2003).

37. There is no contract cited to or attached to the Plaintiff's 3° Complaint
which provides for the recovery of fees. Likewise, Plaintiff cites to no statute allowing for
the recovery of fees.

38. As such, the attorney's fees claim included in the 3° Complaint are a legal
fiction which must be stricken as a matter of law.

c. RELIEF REQUESTED
39. Courts have routinely stricken entire complaints or portions of same that

contain surplusage, irrelevant statements, and bare facts that are extraneous to the claims
asserted in the complaint. See Harrell v. Hess Oil & Chem. Corp., 287 So. 2d 291, 294 (Fla.
1973) ("[I]f a complaint, taken as a whole, stated a cause of action, it should not be
dismissed, but extraneous portions of the complaint should be treated as surplusage.");
Balbontin v. Porias, 215 So. 2d 732, 734 (Fla. 1968) (If amended complaint as a whole or in
any part stated a cause of action, though remaining parts violated spirit and intent of
rules of pleading, remaining parts could be considered as surplusage, and plaintiff may
be required to amend complaint to eliminate specific irrelevancies or certain evidentiary
allegations or improper conclusions).

40. As fully detailed in this motion, of the 46 paragraphs plead by the Plaintiff,
the Defendant is seeking to strike 13 paragraphs or portions of paragraphs. This equates

to around 30% of the Plaintiff's Complaint.

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 - Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 15 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 16 of 17 PagelD 68

41. Asaresult of the foregoing and so much information needing to be struck
from the Plaintiff's 3" Complaint, the Defendant is requesting for the Court to issue an
order requiring the Plaintiff to amend its Complaint and remove all stricken
references/paragraphs, specifically representations regarding (1) Mr. Carlson
purportedly committing fraud, (2) misrepresenting facts regarding Mr. Carlson, (3)
stating Mr. Carlson is an alter ego of MVP and (4) references to piercing MVP’s corporate
veil.

WHEREFORE, the Defendant, MVP Realty Associates, LLC respectfully requests
this honorable Court issue an order dismissal the Plaintiff’s 2" Amended Complaint or in
the alternative enter an order striking the above referenced portions of the 3"? Complaint,
requiring Plaintiff to amend its Complaint and removing the stricken portions, award the
Defendant its attorney’s fees and costs for bringing this motion, and any other relief the
Court deems is just and proper.

CERTIFICATE OF SERVICE

I hereby certify that the foregoing document has been furnished via the Florida

Court E-Filing Portal Florida Court to Thomas Neusom (tgnoffice34@gmail.com) on June

7, 2023.

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 16 of 17
Case 2:23-cv-00503-JLB-NPM Document 1-5 Filed 07/07/23 Page 17 of 17 PagelD 69

Respectfully Submitted, NJ LAW PLLC
Counsel for MVP Realty Associates, LLC
3411 Tamiami Trail N., Ste. 100
Naples, FL 34103
Tel: (239) 920-5228 / Fax: (239) 920-5289

By: /s/ Danielle Crowley

NABIL JOSEPH

Florida Bar Number: 1012159

Primary: nabil@njlawflorida.com

Service Email: service@njlawflorida.com
DANIELLE CROWLEY

Florida Bar Number: 1037776

Primary: danielle@njlawflorida.com
Service Email: service-dc@njlawflorida.com

MVP’S Motion to Dismiss or Alternatively Motion to Strike
23-CA-111 — Clark Pear LLC v. MVP Realty Associates, LLC et al.
Page 17 of 17
